                  Case 2:10-cr-00633-SRC                                                                                                                               Document 114                             Filed 06/30/11                                                                  Page 1 of 1 PageID: 783



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